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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

DONNA LANGAN,                                    §
TERESA DE BARBARAC, and                          §
ALEXANDRA CARSON                                 §
                                   Plaintiffs,   §
                                                 §   Cause No. 1:19-cv-1182
v.                                               §
                                                 §
GREG ABBOTT, in his Official Capacity as         §
Governor of Texas; and                           §
KEN PAXTON, in his Official Capacity as          §
Attorney General of Texas                        §
                             Defendants.         §

             ORDER ON PLAINTIFFS’ MOTION TO ALTER JUDGMENT

       After considering Plaintiffs’ Motion to Amend Judgment, the Court GRANTS the

motion and vacates the judgment.

SIGNED on _______________, 2020.

                                         _________________________
                                         U.S. DISTRICT JUDGE
